
Loretta H. Rush, Chief Justice of Indiana
Pursuant to Indiana Admission and Discipline Rule 23 (10.1)(c), this Court suspended Respondent from the practice of law in this State for failing to cooperate with the Indiana Supreme Court Disciplinary Commission concerning a grievance, No. 19-0607 , filed against Respondent. On April 18, 2019, the Executive Director of the Disciplinary Commission filed a "Certification of Compliance," stating that Respondent has now cooperated with its investigation. Pursuant to Admission and Discipline Rule 23 (10.1)(c)(3), Respondent's suspension from the practice of law terminated as of the date the certification was filed. The Commission also reports that Respondent has paid the costs assessed against him.
The Court therefore ORDERS that Respondent's suspension from the practice of law for failure to cooperate in this case be shown as terminated as of April 18, 2019, and that Respondent be shown as reinstated to the practice of law in this state if no other suspension is in effect.
